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 7

 8                              UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10    DAVID A. BERKOVITZ                                Case No. 2:22-CV-01628-PA-SKx
11          Plaintiff,
                                                        NOTICE OF VOLUNTARY
12    v.                                                DISMISSAL PURSUANT TO FED.
                                                        R. CIV. P. RULE 41(A)(1)(A)(I)
13    DOES 1-5
14          Defendants.
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           PLEASE TAKE NOTICE THAT, pursuant to Fed. R. Civ. P. Rule
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     41(a)(1)(A)(i), Plaintiff David A. Berkovitz (“Berkovitz”), by and through his
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     undersigned Counsel of Record in this Action, respectfully requests that the
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     Complaint be Dismissed Without Prejudice, in its entirety forthwith, with each Party
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     to bear its own fees and costs. No other Party has responded to the Complaint.
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                                                   Respectfully submitted,
23
                                                   HANKIN PATENT LAW, APC
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     Dated: April 11, 2022                         By: /Marc E. Hankin/
25

26                                                 Marc E. Hankin, Esq.
27
                                                   Attorneys for Plaintiff,
                                                   DAVID A. BERKOVITZ
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                 NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED. R. CIV. P. RULE 41(A)(1)(A)(i)
